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                               IN THE UNITED STATES DISTRICT COURT

                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

     UNITED STATES OF AMERICA                               CRIIVIINAL    NO:     20-210

                           v                                DATE FILED:

    MICHAEL "OZZIEU MYERS                                   VIOLATIONS:
                                                            18 U.S.C. S 241 (conspiracy to
                                                            deprive persons of civil rights - 2
                                                            counts)
                                                            18 U.S.C. S 1952 (Travel Act-2
                                                            counts)
                                                            18 U.S.C. $ 1519 (falsification of
                                                            records - 4 counts)
                                                            52 U.S.C. $ 10307(e) (voting more
                                                            than once in federal election - 2
                                                            counts)
                                                            52 U.S.C. $ 10307(c) (conspiring to
                                                            illegally vote in federal election - 2
                                                            counts)
                                                            18 U.S.C. $ 1512(bX3) (obstruction-
                                                            1 count)
                                                            18 U.S.C. $ 2 (aiding and abetting)

                                      SUPERSEDING INDICTMENT

                                               COUNT ONE

    THE GRAND JURY CHARGES THAT:

                   At all times materialto this superseding indictment:

                   1   .       Defendant MICHAEL *OZZIE" IVTYERS was a political consultant and

    former Member of the United States House of Representatives. As a political consultant,

    defendant I\,[YERS held himself out as an effective and successful political operative capable   of
    ensuring his clients' electoral success. Defendant I\,[YERS exercised influence and control in

    Philadelphia's 39th Ward by distributing cash payments and supporting family, friends, and allies

    for elective office in the 39th Ward, and installing Ward Leaders, Judges of Elections, and
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Democratic State Committee Persons. Through the scheme described below, MYERS advanced

his political and financial interests through fraudulent and comrpt means by engaging in a "ballot

stuffing" scheme that enabled him to take credit for the electoral success of his Philadelphia-

based clients and preferred candidates, secure his standing in local party politics that enabled him

to control and influence the 39m Ward, and influence the distribution of local patronage jobs.

                2.        Domenick J. Demuro, charged elsewhere, was a Judge of Elections for

Philadelphia's 39th Ward, 36th Division. Demuro also served as a Committee Person for the

Democratic Party and the Democratic Chairman of Ward 39a in the City of Philadelphia.

                3.        The Judge of Elections is an elective office and a paid position in which

the election official earns approximately     $ 120.00   per election. The Judge of Elections is

responsible for overseeing the entire election process and voter activities of his Division. Each

Judge   of Elections   is charged   with overseeingthe Division's polling place in accordance with

federal and state election laws. The Judge of Elections is required to attend Election Board

Training conducted by the Philadelphia City Commissioners. Election officials are specifically

trained that it is against the law to make false entries on official documents, alter results

receipts/tapes, or any other official records, or tamper with voting machines.

                4.        The Judge of Elections is assisted by other Election Board Officials in his

or her Division, including the Majority lnspector, Minority Inspector, Clerk, and Machine

Inspector. The Majority lnspector and Minority Inspector are elective offices. The Clerk is

appointed by the Minority Inspector, and the Machine Inspector is appointed by Philadelphia's

City Commissioners. The Majority Inspector, Minority Inspector, and Clerk assist the Judge of

Elections in overseeingthe election process at a particular polling place, and they receive


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assignments from the Judge of Elections to enforce voting regulations and procedures. The

Machine Inspector sets up the Voting Machines, resets the machines after each voter, and

instructs voters in the use of the Voting Machines.

                   5.         Each polling station, includingthe 39th Ward,2nd Division, and the 39n

Ward, 36th Division, maintains a District Register ("Pollbook") which documents the eligibility

of a potential voter and a List of Voters and Party Enrollment, which documents the name, party

affiliation, and order of appearance of each voter who appears            at the   polling station to cast his or

her ballot in the election. The Pollbook, Lists of Voters, and Party Enrollment are maintained as

official records by the Philadelphia City Commissioners.

                   6.         The VotingMachines ateachpollingstation, includingthe 39thWard,                  2nd


Division, and the 39th Ward, 36th Division, generate records in the form of              a   printed receipt

("results receipt") documenting the use of each Voting Machine that contain: a) the Opening

Zero Count; b) the Election Board Officials' Opening Certification signatures, c) any Write-in

Votes, and d) Vote Totals. The Judge of Elections and the Election Board Officials at each

polling place attest to the accuracy of machine results by affixing their signatures to the last page

of the results receipt.

                   7   .      The results receipt from each Voting Machine documenting the ballots

cast in an election, is placed in a vinyl Cartridge-Results Bag for pickup by a Philadelphia Police

Officer after the close of the polls. At the end of Election Day, the Cartridge-Results Bag

contains: a) the paper results receipt; b) the memory cartridge from each Voting Machine; and,

c) Absentee Voter          Lists. These official election records   are transported by a PhiladelphiaPolice

Officer to   a   regional center where the voting data is downloaded and tabulated. After the


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election, the records transported in the Cartridge-Results Bag are stored and maintained at the

office of the Philadelphia City Commissioners   at   Riverview Place, Delaware Avenue and Spring

Garden Streets in Philadelphia.

               8.      Judicial Candidates #1,#2,and#3 were candidates runningforJudge         of

the Court of Common Pleas in the First Judicial District of Pennsylvania. Judicial Candidates

#1,#2, and #3 hired defendant MICH AEL*OZZIE" MYERS to help them get elected to the

Court of Common Pleas.

               9.      DefendantMICHAEL *OZZIE" MYERS gave Domenick J. Demuro

directions and paid him money to add votes to candidates supported by defendant MYERS,

including candidates for judicial office whose campaigns actually hired MYERS, and other

candidates for various federal, state, and local elective offices preferred by MYERS for a variety

of reasons. During the 2015 primary election, MYERS paid Demuro to fraudulently add votes

on behalf of Judicial Candidates # l, #2, and #3, among others.

               10.     From at least in or about April 2014 through at least in or about June 2016,

in the Eastern District of Pennsylvania, and elsewhere, defendant

                                  MICHAEL "OZZIE" MYERS

conspired and agreed with Domenick J. Demuro, charged elsewhere, and others known and

unknown to the grand jury, while actingunder color of law, to willfully injure, impede, impair,

and oppress certain legally qualified electors of the United States, being all voters of the 39h

Ward, 36th Division, in the City of Philadelphia, in the free exercise and enjoyment of their right

and privilege, secured underthe Constitution and laws of the United States, of exercisingtheir




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right to vote in primary elections for candidates for federal, state, and local offices undiluted by

false and fraudulent ballots and tallies in the 39th Ward, 36th Division, in the City of Philadelphia.

                                     MANNERAND MEANS

               It was part of the conspiracy that:

                11.    DefendantMICHAEL *OZZIE- MYERS would solicitmonetary

payments from his clients, candidates for elective office, in the form of cash or checks as

"consulting fees." Defendant MYERS would then take portions of these funds from his clients

and make payments to Election Board Officials, including Domenick J. Demuro, in return          for

Demuro and other Election Board officials tampering with the election results.

                12.    After receiving payments ranging from between $300 to $5,000 per

election from defendant MICHAEL*OZZIE" MYERS, Domenick J. Demuro would add

fraudulent votes - also known as "ringing up" votes    - for defendant MYERS'     clients and

preferred candidates in the 39th Ward,36m Division, therebydilutingthe ballots castby actual

voters.

                13.    DefendantMICHAEL "OZZIE" MYERS would relay instructions to

Domenick J. Demuro via cellulartelephonescapable of interstate transmissionsregardingwhich

candidates defendant Demuro should "ring up" or add fraudulent votes to their totals during

Election Day in the 39th Ward, 36th Division.

                14.    After the polls closed on Election Day, Domenick J. Demuro would

falsely certify the Voting Machine results from the 39th Ward, 36th Division, by attesting to the

accuracy of the paper results receipt placed in the Cartridge-Results Bag with the memory

cartridge from each VotingMachine for deliveryto the City Commissioners.



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                    15.       DefendantMICHAEL *OZZIE" MYERS protected the scheme from

detection and prosecution by law enforcement officials as well as from exposure by political

candidates and the newsmedia, through means that included the falsification of documents and

obstruction of justice.

                                                   OVERT ACTS

                 In furtherance of this conqpiracy, defendant MICHAEL "OZZIE" MYERS, along

with Domenick J. Demuro, charged elsewhere, and othersknowrl andunknown to the grand jury,

committed the following overt acts, among others, in the Eastern District of Pennsylvania:

                    I   .     On or about May 20,2014, Domenick J. Demuro, and others known and

unknown to the grand jury, added2T fraudulentballots duringthe primary election in the 39th

Ward, 36th Division, on behalf of defendant MICHAEL *OZZIE" MYERS' preferred candidates

running for election to federal, state, local, and party offices.

                 2.           On or aboutMay 20,2014, DomenickJ. Demuro, and others known to the

grand   jury, falsely certified the results receipt documenting 1 I 8 ballots cast during the primary

election in the 3 9th Ward,       3 6th   Division, even though only   91   voters physically appeared at the

polling station to cast ballots.

                 3.           On oraboutMay 20,2014, afterthe polls closed, DomenickJ. Demuro,

and others known to the gand jury, turned in to the office of the PhiladelphiaCity

Commissioners the results receipts from votingMachine #021873 and Machine#021874

documenting I l8 ballots cast duringthe primary election in the 39th Ward, 36th Division, even

though only    9l       voters physically appeared at the polling station to cast ballots.




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               4.         ln May of 2015, defendantMICHAEL *OZZIE" MYERS gave Domenick

J. Demuro approximately $ 1000 in cash in exchange for Demuro adding fraudulent votes         during

the primary election in the 39th Ward, 36th Division, on behalf of Judicial Candidate    #l running

for Judge of the Court of Common Pleas in the First Judicial District of Pennsylvania.

               5.         In May of 2015, defendant MICHAEL "OZZIE" MYERS gave Domenick

J. Demuro approximately $500 in exchange          forDemuro addingfraudulentvotes duringthe

primary election in the 39th Ward, 36th Division, on behalf of Judicial Candidate #2 running for

Judge of the Court     of Common Pleas in the First Judicial District of Pennsylvania.

               6.         In May of 2015, defendantMICHAEL "OZZIE" MYERS gave Domenick

J. Demuro approximately $ 1000 in exchange for Demuro adding fraudulent votes during the

primary election in the 39th Ward, 36th Division, on behalf of Judicial Candidate #3 running for

Judge of the Court     of Common Pleas in the First Judicial District of Pennsylvania.

               7.         On oraboutMay     l9,20l5, defendantMICHAEL "OZZIE" MYERS

called Domenick J. Demuro immediately prior to the opening of the polls on primary Election

Day to discuss their plans to add fraudulent votes.

               8   .      On or about May   19   ,2015 , Domenick J. Demuro, and others known and

unknown to the grand jury, added 40 fraudulent ballots during the primary election in the     3 9th


Ward, 36th Division, on behalf of defendant MICHAEL*OZZIE" MYERS' client candidates

running for Judge of the Court of Common Pleas in the First Judicial District of Pennsylvania,

and on behalf of defendant MICHAEL "OZZIE" MYERS' preferred candidates for other state

and local offices.




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                9.       On or about May I 9,2015, defendant MICHAEL*OZZIE" MYERS

called Domenick J. Demuro shortly after the polls closed on primary Election Day to confirm

that fraudulent votes had been added to support defendant MYERS' clients and preferred

candidates.

                10.      On or about May I 9,2015, after the polls closed, Domenick J. Demuro,

and others known to the grand jury, turned in to the office of the Philadelphia City

Commissioners the results receipts from votingMachine #021873 and Machine#021874

documentin 9259 ballots cast during the primary election in the 39th Ward, 36th Division, even

though only 219 voters physically appeared at the polling station to cast ballots.

                I   l.   On orabout April26,20l6,defendantMICHAEL *OZZIE" MYERS

called Domenick J. Demuro soon after the opening of the polls on primary Election Day to

discuss their plans to add fraudulent votes.

                12.      On or about April 26,2016, Domenick J. Demuro, and others known and

unknown to the Grand Jury, added 46 fraudulent ballots during the primary election in the 3 9th

Ward, 36th Division, on behalf of defendant MICHAEL"OZZIE- MYERS' preferred candidates

running for election to federal, state, and local offices.

                13.      On   oraboutApril 26,2016, defendantMICHAEL*OZZIE" MYERS

called Domenick J. Demuro multiple times shortly after the polls closed on primary Election Day

to confirm that fraudulent votes had been added to support defendant MYERS' clients and

preferred candidates.

                14.      On or about April26,2016, afterthe polls closed, DomenickJ. Demuro,

and others known to the grand jury, turned in to the office of the Philadelphi aCity



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Commissioners the results receipts from voting Machine #021873 and Machine #021874

documentin9266ballots cast duringthe primary election in the 39th Ward, 36th Division, even

though only 220 voters physically appeared at the polling station to cast ballots.

               All   in violation of Title 1 8, United States Code, Section 241   .




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                                               COUNT TWO

THE GRAND JURY FURTHER CHARGES THAT:

                  1.      Paragraphs   1   throughg, l l through l5,andOvertActs I through       l0of
Count One are incorporated herein by reference.

                  2.      The laws of the Commonwealth of Pennsylvani4 specifically, 1 8

Pa.C.S.A. $ 4701 , provide that bribery is a violation of the laws of the Commonwealth         of

Pennsylvania.

                  3.      On or about May I 9,2015, in the Eastern District of Pennsylvania and

elsewhere, defendant

                                    MIC HAEL " O ZZIE" IVIYERS,

aided and abetted by Domenick J. Demuro, charged elsewhere, and others known and unknown

to the grand jury, used a facility in interstate and foreign commerce, namely a cellular telephone,

with the intent to promote, manage, establish, carry on, and facilitate the promotion,

management, establishment, and carrying on, of an unlawful activity, that is, bribery in violation

of   1   8 Pa.C.S.A. $ 4701, and thereafter committed and attempted to commit an act      of bribery by

fraudulently adding votes in exchange for money to further such unlawful activity.

                   In violation of Title 1 8, United States Code, Section 1 952(a)(3), and Title 1 8,

United States Code, Section 2.




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                                             COUNT THREE

THE GRAND JURY FURTHER CHARGES THAT:

              1.       Paragraphs       I through 9, l l through l5,andOvertActs l through    12    of

Count One are incorporated herein by reference.

              2.       OnoraboutMay 19,2015, intheEasternDistrictofPennsylvaniaand

elsewhere, defendant

                                     MIC HAEL U OZZIE" IVTYERS,

aided and abetted by, and    willfully   caused, Domenick J. Demuro, charged elsewhere, and others

known and unknown to the grand jury, to knowingly conceal, cover up, falsify, and make false

entries in documents and records, specifically, the results receipts from voting Machine #021873

and Machin e #021874 documenting259 ballots cast during the primary election in the         3 9th


Ward, 36th Division, with the intent to impede, obstruct, and influence the investigation and

proper administration of a matter, and in relation to and contemplation of such matter, which was

within the jurisdiction of   a   department and agency of the United States, specifically, the U.S.

Department of Justice ("DOJ') and the Federal Bureau of Investigation ("FBI").

               In violation of Title 1 8, United States Code, Section 1 519, and Title I 8, United

States Code, Section 2.




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                                              COUNT FOUR

THE GRAND JURY FURTHER CHARGES THAT:

              1    .        Paragraphs   I through 9, 1 1 through 1 5, and Overt Acts 1 through   14   of

Count One, and Paragraph 2 of Count Two are incorporated herein by reference.

              2.            On or about April 26,201 6, in the Eastern District of Pennsylvania and

elsewhere, defendant

                                     MICHAEL "OZZIE" MYERS,

aided and abetted by Domenick J. Demuro, charged elsewhere, and others, known and unknown

to the grand jury, used a facility in interstate and foreign cornmerce, namely a cellular telephone,

with the intent to promote, manage, establish, carry on, and facilitate the promotion,

management, establishment, and carrying on, of an unlawful activity, that is, bribery in violation

of 1 8 Pa.C.S.A.       $ 4701 , and thereafter committed and affempted to commit an act of bribery by

fraudulently adding votes in exchange for money to further such unlawful activity.

                  In violation of Title 18, United States Code, Section 1952(a)(3), and Title 18,

United States Code, Section 2.




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                                                COUNT FIVE

THE GRAND JURY FURTHER CHARGES THAT:

               1   .      Paragraphs    1   through 9, I 1 through 1 5, and Overt Acts   1   through 14 of

Count One are incorporated herein by reference.

               2.         On orabout Apri126,2016, in the Eastern Districtof Pennsylvania and

elsewhere, defendant

                                      MICHAEL "OZZIE" MYERS,

aided and abetted by, and      willfully    caused, Domenick J. Demuro, charged elsewhere, and others

known and unknown to the grand jury, to knowingly conceal, cover up, falsify, and make false

entries in documents and records, specifically, the Results Receipts from voting Machine

#021873 and Machine #021874 documentin9266ballots cast duringthe primary election in the

39th Ward,36th     Division, with the intentto impede, obstruct, and influence the investigation and

proper adminisffation of a matter, and in relation to and contemplation of such matter, which was

within the jurisdiction of    a   department and agency ofthe United States, specifically, the DOJ

and the FBI.

                   In violation of Title I 8, United States Code, Section 1 5l 9, and Title I 8, United

States Code, Section 2.




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                                               COUNT SIX

THE GRAND JURY FURTHER CHARGES THAT:

              1   .      Paragraphs   I through 9, I 1 through   I 5, and Overt   Acts 1 through 14 of

Count One are incorporated herein by reference.

              2.         On or about     April26,20l6, in the Eastern District of Pennsylvania and

elsewhere, defendant

                                   MICHAEL "OZZIE" MYERS,

aided and abetted by, and    willfully   caused, Domenick J. Demuro, charged elsewhere, and others

known and unknown to the grand jury, to vote morethan once in a primary election held solely

or in part for the purpose of selecting and electing any candidate for the office of Member of the

United States House of Representatives.

                  In violation of Title 52, United States Code, Section I 0307(e), and Title I 8,

United States Code, Section 2.




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                                              COUNT SEVEN

THE GRAND JURY FURTHER CHARGES THAT:

                I   .      Paragaphs   1   through 9, I I through 14, and OvertActs I through l4    of

Count One are incorporated herein by reference.

                2.         On or about April 26,2016, in the Eastern District of Pennsylvania and

elsewhere, defendant

                                    MICHAEL $OZZIE" MYERS,

conspired with Domenick J. Demuro, charged elsewhere, and others known and unknown to the

grand   jury, to illegally vote more than once in a primary election held solely or in part for the

purpose of selecting and electing any candidate for the office of Member of the United States

House of Representatives.

                    In violation of Title 52, United States Code, Section 10307(c), and Title 18,

United States Code, Section 2.




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                                           COUNT EIGHT

THE GRAND JURY FURTHER CHARGES THAT:

              1.       Paragraphs   I through 9, 11 through 15, andOvertActs 1 through        14   of

Count One are incorporated herein by reference.

              2.       From on or about April 12,2017 through on or about May 8, 2017 ,inthe

Eastern District of Pennsylvania and elsewhere, defendant

                                MICHAEL "OZZIE" MYERS,

knowingly engaged in misleading behavior towards another person with the intent to hinder,

delay, and preventthe communication to law enforcementofficers,that is, agents of the FBI,

information relating to the commission and possible commission of a federal offense, and

attempted to do so, by among other things:

               a.      Instructing Domenick J. Demuro, charged elsewhere, not to discuss the

"ballot stuffing" over the telephone;

               b.      Advising Domenick J. Demuro to conceal the receipt of bribes by

providing fictitious names to be listed   as the payee on checks   drawn on the campaign accounb of

defendant IVIYERS' preferred candidates and unwitting clients by telling Demuro, "I'm gonna

get you a couple checks there's no question about      that. If you want to give me a - a different

name than Domenick Demuro that's your business....";

               c.      Advising Domenick J. Demuro that defendant MYERS would hand

Demuro bribe payments in the form of checks after the deadline for the last campaign finance

report prior to the May 201 7 primary election because, "you don't wanna - you don't wanna be

on any [candidate's campaign finance] report May 7* when the election is May 1 6tn"'


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               d.       Having Domenick J. Demuro sign receipts for bribe payments in the form

of cash and instructing Demuro that "if there was ever   a question   Dom . . . you know you'd say

well I gave the money out Election Day [to get out the vote]";

               e.       Providing a check to Domenick J. Demuro drawn on the campaign

account of defendant MYERS' client candidate and made payable to Demuro's spouse and later

falsely charactertzed onthe unwiuingcandidate's campaign finance reportas supportinga"get

out the vote" effort.

               In violation of Title I 8, United States Code, Section I 5 1 2(bX3) and Title 1 8,

United States Code, Section 2.




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                                                     COUNT NINE

THE GRAND JURY FURTHER CHARGES THAT:

                        1.     Paragraphs 1,3 through 7,and        l5 of CountOneare incorporatedherein             by

reference.

                        2.     In approximately 1988, Marie Beren, charged elsewhere, was recruited by

defendart MICHAEL *OZZIE" MYERS to serve as Judge of Elections for Philadelphia's                            lltn
Ward,      2nd   Division. Approximately four         years prior, defendant I\,[YERS had recruited and

installed Beren as a Committee Person forthe Democratic Party in the 39th Ward in the City of

Philadelphia.

                        3.     Marie Beren formally served as the Judge of Elections for Philadelphia's

3   9th   Ward,   2nd   Division, from 1988 through 2015. Beginning in approxim ately 2010, the polling

location for the 39th Ward,         2nd   Division, moved to the Seafarer's Union Hall located at 4th and

Shunk Streets in Philadelphia, Pennsylvania. The Seafarer's Union Hall was also the polling

location for the 39th Ward,         1 I th   Division, and the 39th Ward,   1   6th   Division. Maire Beren became

the   de   facto Judge of Elections for all three divisions.

                        4.     Following the 201 5 Primary Election, Marie Beren "stepped down" from

her formal role as Judge of Elections for the 39th Ward, 2'd Division. Beren became a certified

poll watcher and installed a new Judge of Elections known to the grand jury. In her new

capacity, Beren maintained access to the polling locations at Seafarer's Union Hall for

Philadelphia's39thWard,2ndDivision,the3gthWard, llthDivision,andthe3gthWard,                               16th


Division. Although election records for the 39th Ward,2nd Division, identified another person

serving as Judge of Elections, in reality, Beren continued to effectively perform the

responsibilities of the Judge of Elections by overseeing the entire election process and voter
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activities of all three Divisions located at the Seafarer's Union Hall from 2015 through at least

20t9.

                 5.          Marie Beren recruited and installed the other Election Board Officials for

the 39th Ward,   2nd     Division.

                 6.          While Marie Beren effectively ran the pollingplaces forPhiladelphia's

39th Ward, 2'd   Division, the 39th Ward, I l th Division, and the            39th    Ward, 16e Division, defendant

MICHAEL *OZZIE" MYERS gave Beren directions to add votes to candidates supported by

defendant MYERS, including candidates for judicial office whose campaigns actually hired

IVIYERS, and other candidates for various federal, state, and local elective offices preferred by

N/IYERS   for a variety of reasons.

                 7   .       From at least in or around May 2015 through at least in or around May

20 1 9, in the Eastern District      o   f   Penn sy lvan ia, and elsewhere, defendant

                                             MICHAEL "OZZTE" MYERS

conspired and agreed with Marie Beren, charged elsewhere, and others known and unknown to

the grand jury, while acting under color of law, to               willfully injure,   impede, impair, and oppress

certain legally qualified electors of the United States, being all voters of the 39h Ward,                  2nd


Division, in the City of Philadelphia, in the free exercise and enjoyment of their right and

privilege, secured under the Constitution and laws of the United States, of exercising their right

to vote undiluted by false and fraudulent ballots and tallies in the 39th Ward,                2nd   Division, in the

City of Philadelphia.

                                                MANNER AND MEANS

                 It was part of the conspiracy that:


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                  8.             On Election Day, defendantMICHAEL*OZZIE" MYERS transported

MarieBerentothepollingstationforthe39thWard,2ndDivision,toopenthepolls.                          Duringthe

drive to the polling station, defendant I\,[YERS would advise Beren which candidates he was

supporting so that Beren knew which candidates should be receiving fraudulent votes.

                  9,             While the polls were open, Marie Beren would advise actual in-person

voters to support defendant MICHAEL "OZZIE" MYERS' candidates. Beren would also cast

fraudulent votes in support of defendant MYERS's preferred candidates on behalf of voters she

knew would not physically appear at the polls in the 39th Ward,           2nd   Division, thereby diluting the

ballots cast by actual voters.

                  10.            On Election Day, defendantMICHAEL"OZZIE" IVIYERS would confer

with defendant Marie Beren, often via cellular telephone, while she was at the polling station for

the39thWard,2ndDivision,aboutthenumberofvotescastforhispreferredcandidates. Beren

would report to defendant MYERS how many "legit votes," meaning actual voters, had reported

and cast ballots.         If   actual voter tumout was high, Beren would add fewer fraudulent votes in

support of MYERS' preferred candidates. From time to time, I\,[YERS would instruct Beren to

shift her efforts from one of MYERS' preferred candidates to another. Specifically, N4YERS

would instruct Beren "to throw support" behind another candidate during Election Day                if
I\,[YERS concluded that his first choice was comfortably ahead.

                  I   1   .      Marie Beren would also permit and encourage individual voters from the

39thWard,   2nd   Division, to cast ballots on behalf of absent family members who had not appeared

at the polling station in person. Beren would use her influence with those voters to steer them




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towards casting ballots for their absent family members in support of candidates supported by

                         *
defendant MICHAEL            OZZIE" MYERS.

                12.      Marie Beren, and others known and unknown to the grand jury, would

falsify the List of Voters and Party Enrollment for the 39ft Ward, 2'd Division, by recording the

names, party affiliation, and order of appearances    for voters who had not physically appeared at

the polling station to cast his or her ballot in the election. Beren, and others known and unknown

to the grand jury, would then cast fraudulent ballots, purportedly on behalf of these eligible

voters who had not, in fact, appeared in person to cast ballots themselves.

                I   3.   After the polls closed on Election Day, Marie Beren, and others known

and unknownto the grand jury, would certifythe VotingMachine results from the         llth   $y'a1d,Jnd

Division, by attesting to the accuracy of the paper results receipt placed in the Cartridge-Results

Bag with the memory cartridge from each Voting Machine for delivery to the City

Commissioners.

                                          OVERT ACTS

                In furtherance of this conspiracy and to achieve its objects, defendant MICHAEL

"OZZIE" MYERS, along with Marie Beren, charged elsewhere, and others known and unknown

to the grand jury, committed the following overt acts, among others, in the Eastern District       of

Pennsylvania:

                I   .    On or about May I 9 ,2015 , Marie Beren, and others known and unknown

to the grand jury, added fraudulent ballots during the primary election in the 3 9th Ward,   2nd


Division, on behalf of defendant MICHAEL "OZZIE" MYERS' preferred candidates runningfor

election to state and local offices.

                2.       On or aboutNovember 3, 2015, Marie Beren, and others known and
                                                 2t
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unknown to the grand jury, added fraudulent ballots during the general election in the   3 9th   Ward,

2nd   Division, on behalf of defendant MICHAEL"OZZIE" MYERS' preferred candidates running

for election to state and local offices.

                3.      On orabout     April26,20l6,Marie Beren, andothers knownand unknown

to the grand jury, added fraudulent ballots during the primary election in the 39th Ward,   2nd


Division, on behalf of defendant MICHAEL *OZZIE" MYERS' preferred candidates running for

election to federal, state, and local offices.

                4.      On or aboutNovember 6, 2016, Marie Beren, and others known and

unknown to the grand jury, added fraudulent ballots during the general election in the 39th Ward,

2nd   Division, on behalf of defendantMICHAEL*OZZIE" IVIYERS' preferred candidatesrunning

for election to federal, state, and local offices.

                5.      On or about May I 6,2017, Marie Beren, and others known and unknown

to the grand jury, added fraudulent ballots during the primary election in the 39th Ward,   2nd


Division, on behalf of defendant MICHAEL *OZZIE" MYERS' preferred candidates running for

election to state and local offices.

                6.      On or about November 7, 2017,Marie Beren, and others known and

unknown to the grand jury, added fraudulent ballots during the general election in the   3 9th   Ward,

2ndDivision, on behalf of defendantMICHAEL*OZZIE" IVIYERS'preferred candidatesrunning

for election to state and local offices.

                7   .   On or about May 1 5,2018, Marie Beren arranged for others, known and

unknown to the grand jury, to add at least approximately fifteen (15) fraudulent ballots during

the primary election in the 39th Ward, 2nd Division, on behalf of defendant MICHAEL      "OZZIE"


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MYERS' preferred candidates running for election to federal, state, and local offices.

                8.      On or aboutNovember 6, 2018, Marie Beren, and others known and

unknown to the grand jury, added at least approximately fourteen (14) fraudulent ballots during

the general election in the 39th Ward, 2'd Division, on behalf of defendant     MICHAEL*OZZIE"

MYERS's preferred candidates running for election to federal, state, and local offices.

                9.      On or about May 21,2019, Marie Beren, and others known and unknown

to the grand jury, added at least approximately ten   (1   0) fraudulent ballots during the primary

election in the 39th Ward,   2nd   Division, on behalf of defendant MICHAEL"OZZIE" MYERS'

preferred candidates running for election to state and local offices.

                10.     On or aboutNovember 5, 2019, Marie Beren, and others known and

unknown to the grand jury, added fraudulent ballots during the general election in the 39th Ward,

2nd   Division, on behalf of defendant MICHAEL *OZZIE" IvIYERS' preferred candidates running

for election to state and local offices.

                In violation of Title 18, United States Code, Section 241.




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                                                      COUNT TEN

THE GRAND JURY FURTHER CHARGES THAT:

                 I   .         Paragraphs 1, and 3 through 7 of Count One, Paragraph 2 of Count Eight,

and Paragaphs 2 through 6, 8 through              1   3, and Overt Act 6   of Count Nine are incorporated

herein by reference.

                 2.            On oraboutNovemberT, 2017,inthe Eastern Districtof Pennsylvania

and elsewhere, defendant

                                        MIC HAEL " OZZIE" IVTYERS,

aided and abetted by, and          willfully   caused, Marie Beren, charged elsewhere, and others known

and unknown to the grand jury, to knowingly conceal, cover up, falsify, and make false entries in

documents and records, specifically, the District Register ("Pollbook") for the              l!fi   Vy's1d, lnd


Division, with the intent to impede, obstruct, and influence the investigation and proper

administration of a matter, and in relation to and contemplation of such matter, which was within

the   jurisdiction of    a   departmentand agency ofthe United States, specifically, the U.S.

Department of Justice ("DOJ') and the Federal Bureau of Investigation ("FBI").

                In violation of Title 1 8, United States Code, Section I 519, and Title 1 8, United

States Code, Section 2.




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                                          COUNT ELEVEN

THE GRAND JURY FURTHER CHARGES THAT:

              1.        Paragraphs I , and 3 through 7 of Count One, Paragraphs 2 through 6, 8

through 13, and Overt Act 8 of CountNine are incorporated herein by reference.

             2.         In2018, the general election ballot in the 39th Ward, 2nd Division,

contained candidates for the office of Member of the United States Senate and Member of the

United States House of Representatives.

             3   .      On or about November 6, 201 8, in the Eastern District of Pennsylvania

and elsewhere, defendant

                                  MICHAEL "OZZIE" MYERS,

aided and abetted by, and   willfully   caused, Marie Beren, charged elsewhere, and others known

and unknown to the grand jury, to vote more than once in a primary election held solely or in

partforthe purpose of selectingand electingany candidateforthe officeof Memberof the

United States Senate and Member of the United States House of Representatives.

                 In violation of Title 52, United States Code, Section 10307(e), and Title I 8,

United States Code, Section 2.




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                                       COUNT TWELVE

THE GRAND JURY FURTHER CHARGES THAT:

              1   .    Paragraphs 1 , and 3 through 7 of Count One, Paragraphs2 through 6, 8

through 13, and Overt Act 8 of CountNine, and Paragraph2 of Count Eleven are incorporated

herein by reference.

              2.       On or about November 6, 201 8, in the Eastern District of Pennsylvania

and elsewhere, defendant

                                 MICHAEL "OZZIE" MYERS

conspired with Marie Beren, charged elsewhere, and others known and unknown to the grand

jury, to illegally vote more than once in a primary election held solely and in part for the purpose

of selecting and electing any candidate for the office of Member of the United States Senate and

Member of the United States House of Representatives.

               In violation of Title 52, United States Code, Section 10307(c).




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                                             COUNT THIRTEEN

THE GRAND JURY FURTHER CHARGES THAT:

                 I   .      Paragraphs 1 , and 3 through 7 of Count One, Paragraph 2 of Count Eight,

Paragraphs 2 through 6, and 8 through 13, and Overt           Act 1 0 of CountNine are incorporated

herein by reference.

                 2.         On or aboutNovember 5, 2019,in the Eastern District of Pennsylvania

and elsewhere, defendant

                                      MICHAEL OZZIE'' MYERS,
                                                    33




aided and abetted by, and       willfully   caused, Marie Beren, charged elsewhere, and others known

and unknown to the grand jury, to knowingly conceal, cover up, falsify, and make false entries in

documents and records, specifically, the District Register ("Pollbook") for the 39ft Ward, 36th

Division, with the intent to impede, obstruct, and influence the investigation and proper

administration of a matter, and in relation to and contemplation of such matter, which was within

the   jurisdiction of    a department and agency    of the United States, specifically, the U.S.

Department of Justice ("DOJ") and the Federal Bureau of Investigation ("FBI").

                     In violation of Title 1 8, United States Code, Section I 519, and Title 18, United

States Code, Section 2.




                                                     for

ACTING UNITED STATES ATTORNEY
                                                         27
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 No.

                    UNITED STATES DISTRICT COURT

                           Eastem District of Pennsylvania
                                        Criminal Division

                TFIE LINITED STATES OF AMERICA

                                                      vs.


                                 MICHAEL "OZZIE" MYERS


                         SUPERSEDING INDICTMENT

                                      Counts
18   usc section 241 (conspiracy to Deprive Persons of civil Rights - 2 counts)
                      f8 USC Section 1952 (Travel Act -2 counts)
               18 U.S.C. S 1519 (falsification of records - 4 counts)
   52 U.S.C. $ 10307(e) (voting more than once in federal election - 2 counts)
 52 U.S.C. $ 10307(c) (conspiring to illegally vote in federal election - 2 counts)
                  l8 U.S.C. $ 1512(b)(3) (obstruction - I count)
                       18 U.S.C. $ 2 (aiding and abetting)




             Filed in open court this                             day,
                   of                                       20

                                              Clerk

                                 Bail. $
